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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 UMOJA ERECTORS, LLC,

                         Plaintiff,                       Civil Action

                  v.                                      No. 20-cv-5046

 D.A. NOLT, INC.,

                         Defendant.


                                               ORDER

        AND NOW, this 16th day of July, 2024, upon consideration of Plaintiff’s motion to alter

or amend judgment pursuant to Federal Rule of Civil Procedure 59, and the responses and replies

thereto, I find as follows:

I.      INTRODUCTION

        1.       Plaintiff Umoja Erectors, LLC (“Umoja”) has filed a motion to alter or amend judg-

ment pursuant to Federal Rule of Civil Procedure 59. The motion arises from a judgment following

a bench trial, where the Honorable Judge Gene E.K. Pratter found in favor of Defendant D.A. Nolt

(“Nolt”) and denied Umoja relief on its breach of contract claims. The case has been reassigned to

my docket.

        2.       A full recitation of the facts is set out in Judge Pratter’s Opinion dated February 15,

2024. (ECF No. 60.) Briefly summarized, the City of Philadelphia initiated a project to restore a

building at 4601 Market Street, which was meant to become the city’s Public Safety Services

Campus. The City awarded Nolt the general construction contract for this project, and Nolt sub-

contracted with Umoja for “all labor, materials and equipment required for the supply, fabrication,

erection, layout, coordination and installation” of steel. Umoja sued Nolt over payment in relation


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to the subcontract, and Judge Pratter found that Umoja was not entitled to any relief. (ECF No. 60,

page 1.)

          3.       For the following reasons, Umoja’s motion to alter or amend the judgment will be

denied.

II.       LEGAL STANDARD

          4.       Federal Rule of Civil Procedure 59(e) is “a device ... used to allege legal error,”

United States v. Fiorelli, 337 F.3d 282, 288 (3d Cir. 2003), and may only be used to “correct man-

ifest errors of law or fact or to present newly discovered evidence.” Howard Hess Dental Labs.,

Inc. v. Dentsply Int'l Inc., 602 F.3d 237, 251 (3d Cir. 2010) (quotation marks omitted). The moving

party must show one of the following to prevail on a Rule 59(e) motion: (1) an intervening change

in the controlling law; (2) the availability of new evidence that was not available when the court

issued its order; or (3) the need to correct a clear error of law or fact or to prevent a manifest

injustice. See Max’s Seafood Café v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999). Such a motion

is not appropriate to reargue issues that the court has already considered and decided. Wright v.

Pierce, No. 12-175, 2015 WL 3653124, at *1 (D. Del. June 10, 2015).

III.      DISCUSSION

          5.       Umoja argues that Judge Pratter’s decision was clearly erroneous for several rea-

sons, which generally fall into three categories:

                   a. Umoja asserts Judge Pratter erred by not awarding damages on Umoja’s in-

                      voices after the City of Philadelphia paid Nolt. Umoja bases this argument on

                      the “pay-if-paid” clauses in Nolt’s subcontract with Umoja, which required pay-

                      ment from the City to Nolt as a condition precedent to payment from Nolt to

                      Umoja.




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                b. Umoja contends Judge Pratter improperly applied cost-shifting provisions in

                   the subcontract when she found Umoja was obligated to pay for corrective work

                   at its own expense.

                c. Finally, Umoja submits Judge Pratter should not have granted Nolt a defensive

                   recoupment (i.e., an offsetting of Nolt’s costs against Umoja’s damages), which

                   prevented Umoja from recovering damages on the payments it was concededly

                   owed. (ECF No. 62.)

       A.       “Pay if Paid” Clause

       6.       First, Umoja asserts that the City’s payment to Nolt created an obligation for Nolt

to pay Umoja. This argument overlooks Judge Pratter’s other reasons for concluding that Umoja

was not entitled to damages. Judge Pratter found that the subcontract did not require Nolt to pay

for corrective work or “to pay Umoja in the event of delays caused by Umoja.” (ECF No. 60, page

13, ¶ 9; Id., page 15, ¶ 17.) Due to a “myriad of issues,” many items of steel supplied and erected

by Umoja needed correction, leading to delays. (Id., page 7, ¶ 31.) Because Nolt did not have an

obligation to pay for this corrective work, Umoja was never entitled to these payments and Nolt

did not breach the contract when it failed to make them.

       7.       Moreover, Judge Pratter found that Umoja failed to distinguish between corrective

and non-corrective work in all the invoices offered into evidence, resulting in a failure to meet its

burden of proving damages with “reasonable certainty.” (ECF No. 60, page 14, ¶ 12.) Thus, Umoja

was not entitled to damages for any unpaid invoices for steel erection work—irrespective of the

fact that the City ultimately paid Nolt. Umoja has not demonstrated that these findings contain a

manifest error of fact or law.




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         B.       Cost-Shifting

         8.       Umoja next contends that cost-shifting provisions (which appear in Paragraph 66

of the standard contract terms incorporated into the Nolt–Umoja contract by virtue of Nolt’s con-

tract with the City) only applied if the City’s “Project Manager”—Pedro Pinto—personally re-

jected the steel work. But while Umoja focuses on this cost-shifting provision in isolation, Judge

Pratter found Umoja had an obligation to “diligently and fully perform” the contracted work, in-

cluding the “labor, materials and equipment required for the fabrication [and] erection of steel.”

(ECF No. 60, page 4-5, ¶¶ 9, 11.) Extensive errors, corroborated by the City’s third-party inspector

Pennoni Associates, led to corrective work that fell “within the scope” of Umoja’s responsibility.

(Id., page 8, ¶ 31.) Therefore, even though Pedro Pinto did not personally reject the steel work,

Umoja’s failure to “diligently and fully” meet its contractual obligations relieved Nolt of its duty

to pay for work that was not up to the standards and specifications of the subcontract, including

materials and time for correction. Moreover, despite this testimony regarding unsuitable steel

work, Umoja never argued at trial that Paragraph 66 of the of the standard contract requirements

limited any contractual duties it otherwise had to correct errors, and, accordingly, neither party

offered testimony or other evidence on that point. Rule 59(e) motions “are not a vehicle to argue

facts or issues that were not raised.” Gibson v. State Farm Mut. Auto. Ins. Co., 994 F.3d 182, 191

(3d Cir. 2021). As such, Umoja has failed to demonstrate that Judge Pratter’s resolution was a clear

error.

         C.       Recoupment

         9.       Umoja’s final argument concerns recoupment—an issue Judge Pratter addressed,

finding that the costs Nolt incurred entitled it to offset Umoja’s damages because they arose from

the “same transaction.” (ECF No. 60, page 17, ¶ 24.) Specifically, Nolt’s costs were a “direct

result” of Umoja’s performance under the Subcontract. (Id.) Nolt’s costs exceeded the charges it


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owed Umoja, and, thus, Umoja could not recover the remaining balance of its “coordination” fee.

(Id., ¶ 25.) Because Rule 59(e) is not a device for a “repetition of arguments already briefed,

considered and decided,” no ground exists for Umoja to re-raise this issue. Tulczynska v. Queens

Hosp. Ctr., No. 17-cv-1669, 2020 WL 2836759, at *3 (S.D.N.Y. June 1, 2020).

       WHEREFORE, it is hereby ORDERED that Plaintiff’s motion to alter or amend the

judgment (ECF No. 62) is DENIED.



                                            BY THE COURT:

                                            /s/ Mitchell S. Goldberg
                                            MITCHELL S. GOLDBERG, J.




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